     Case 2:19-cv-02286-JWH-KS Document 898 Filed 10/31/22 Page 1 of 17 Page ID
                                    #:127204



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14
                             CENTRAL DISTRICT OF CALIFORNIA
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16
     STRATEGIC PARTNERS, INC.,              Case No. 2:19-cv-02286-JWH-KS
17
                Plaintiff,                  JOINT AMENDED SET OF DISPUTED
18                                          JURY INSTRUCTIONS
          vs.
19                                          Date: October 17, 2022
   FIGS, INC., CATHERINE (“TRINA”)          Time: 9:00 a.m.
20 SPEAR, HEATHER HASSON,                   Crtrm: 9D
21             Defendants.                  Complaint Filed: February 22, 2019
                                            Trial Date: October 17, 2022
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                        JOINT AMENDED SET OF DISPUTED JURY INSTRUCTIONS
    Case 2:19-cv-02286-JWH-KS Document 898 Filed 10/31/22 Page 2 of 17 Page ID
                                   #:127205



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                      JOINT AMENDED SET OF DISPUTED JURY INSTRUCTIONS
     Case 2:19-cv-02286-JWH-KS Document 898 Filed 10/31/22 Page 3 of 17 Page ID
                                    #:127206



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                      JOINT AMENDED SET OF DISPUTED JURY INSTRUCTIONS
     Case 2:19-cv-02286-JWH-KS Document 898 Filed 10/31/22 Page 4 of 17 Page ID
                                    #:127207



 1        Pursuant to the Court’s Civil Trial Scheduling Order, Plaintiff STRATEGIC
 2 PARTNERS, INC. (“SPI”) and Defendants FIGS, INC., CATHERINE (“TRINA”) SPEAR,
 3 and HEATHER HASSON, jointly submit the following set of proposed jury instructions in
 4 dispute.
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                      JOINT AMENDED SET OF DISPUTED JURY INSTRUCTIONS
     Case 2:19-cv-02286-JWH-KS Document 898 Filed 10/31/22 Page 5 of 17 Page ID
                                    #:127208



 1                                         INDEX
 2
     Number     Title                        Source                     Page
 3   33.        False Advertising Under                                 6
 4              Lanham Act--Falsity          Special Instruction
     35.        False Advertising Under                                 10
 5              Lanham Act – Testing
 6              Statements                   Special Instruction
     36.        False Advertising Under                                 11
 7              Lanham Act—Materiality       Special Instruction
 8   47.        Statute of Limitations –                                13
                Delayed Discovery            CACI No. 455
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                                            -5-
                      JOINT AMENDED SET OF DISPUTED JURY INSTRUCTIONS
     Case 2:19-cv-02286-JWH-KS Document 898 Filed 10/31/22 Page 6 of 17 Page ID
                                    #:127209



 1                   PLAINTIFF’S PROPOSED JURY INSTRUCTION # 331
 2                         False Advertising Under Lanham Act – Falsity
 3
             To establish the first element of a false advertising claim under the Lanham Act,
 4
     SPI must show that FIGS made a statement of fact about its product in commercial
 5
     advertising that is false or misleading.
 6
             A statement is literally false when it explicitly and unambiguously, or by necessary
 7
     implication, states something that is untrue. If the statement is ambiguous, meaning it is
 8
     susceptible to more than one reasonable interpretation the statement cannot be literally
 9
     false. A misleading statement is one that is literally true or ambiguous, but has misled,
10
     confused, or deceived a substantial segment of the consuming public.
11
             SPI must prove that a statement was false or misleading in one of the following
12
     ways:
13
             (1) By proving that a statement in FIGS’ advertising is literally false on its face.
14
             (2) By proving that a statement in FIGS’ advertising is literally false by necessary
15
     implication. A statement is literally false by necessary implication when it does not
16
     explicitly state something that is untrue but, considering the advertisement in its entirety,
17
     the audience would perceive the untrue claim as readily as if it had been explicitly stated.
18
             (3) By proving that a statement in FIGS’ advertising is literally false because it:
19
             a.    makes an implicit or explicit reference to testing, but
20
             b.    the tests do not establish the statement asserted by FIGS; or
21
             c.    the tests are not sufficiently reliable to permit one to conclude with
22
     reasonable certainty that the tests establish the statement at issue.
23
             (4)   By proving that FIGS’s advertising contains a misleading statement.
24
25
26   The parties hereby incorporate their respective statements of support and objections to
     1

27 this disputed instruction, as set forth in Dkt. 833 at 14–17.
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                                                   -6-
                           JOINT AMENDED SET OF DISPUTED JURY INSTRUCTIONS
     Case 2:19-cv-02286-JWH-KS Document 898 Filed 10/31/22 Page 7 of 17 Page ID
                                    #:127210



 1        In determining whether a statement in an advertisement is false or misleading, you
 2 must consider it in the context of the entire advertisement.
 3
 4 Authority:
 5        Jury Instruction No. 10 in Strategic Partners, Inc. v. Vestagen Protective
 6 Technologies, Inc., 16-cv-05900-RGK-PLA, Dkt. 215 (C.D. Cal. Sept. 22, 2017); Southland
 7 Sod Farms v. Stover Seed Co., 108 F.3d 1134 (9th Cir. 1997); William H. Morris Co. v.
 8 Grp. W, Inc., 66 F.3d 255, 257-58 (9th Cir. 1995); McNeil-P.P.C., Inc. v. Bristol-Myers-
 9 Squibb Co., 938 F.2d 1544, 1549 (2d Cir. 1991); BASF Corp. v. Old World Trading Co., 41
10 F.3d 1081, 1091 (7th Cir. 1994); Castrol, Inc. v. Quaker State Corp., 977 F.2d 57, 62-63
11 (2d Cir. 1992); Pamlab, L.L.C. v. Macoven Pharms., L.L.C., 881 F. Supp. 2d 470, 478
12 (S.D.N.Y. 2012).
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                                                -7-
                        JOINT AMENDED SET OF DISPUTED JURY INSTRUCTIONS
     Case 2:19-cv-02286-JWH-KS Document 898 Filed 10/31/22 Page 8 of 17 Page ID
                                    #:127211



 1                  DEFENDANTS’ PROPOSED JURY INSTRUCTION # 332
 2                           False Advertising Under Lanham Act – Falsity
 3
             To establish the first element of a false advertising claim under the Lanham Act,
 4
     SPI must show that FIGS made a statement of fact about its product in commercial
 5
     advertising that is false or misleading.
 6
             A statement is literally false or false on its face when it explicitly and
 7
     unambiguously, or by necessary implication, states something that is untrue. If the
 8
     statement is ambiguous, meaning it is susceptible to more than one reasonable
 9
     interpretation, the statement cannot be literally false. A misleading statement is one that
10
     is literally true or ambiguous, but has misled, confused, or deceived a substantial segment
11
     of the consuming public.
12
             SPI must prove that a statement was false or misleading in one of the following
13
     ways:
14
             (1) By proving that a statement in FIGS’ advertising is literally false on its face.
15
             (2) By proving that a statement in FIGS’ advertising is literally false by necessary
16
     implication. A statement is literally false by necessary implication when it does not
17
     explicitly state something that is untrue but, considering the advertisement in its entirety,
18
     the audience would perceive the untrue claim as readily as if it had been explicitly stated.
19
             (3) By proving that FIGS’s advertising contains a misleading statement.
20
21
     Authority:
22
     Jury Instruction No. 10 in Strategic Partners, Inc. v. Vestagen Protective Technologies,
23
     Inc., 16-cv-05900-RGK-PLA, Dkt. 215 (C.D. Cal. Sept. 22, 2017); Strategic Partners,
24
     Inc. v. Vestagen Protective Techs., Inc., No. 16-cv-059000-RGK-PLA, 2017 WL
25
26   The parties hereby incorporate their respective statements of support and objections to
     2

27 this disputed instruction, as set forth in Dkt. 833 at 14–17.
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                                                    -8-
                           JOINT AMENDED SET OF DISPUTED JURY INSTRUCTIONS
     Case 2:19-cv-02286-JWH-KS Document 898 Filed 10/31/22 Page 9 of 17 Page ID
                                    #:127212



 1 5897711, at *2 (C.D. Cal. July 31, 2017); Aussie Nads U.S. Corp. v. Sivan, 41 F. App’x
 2 977, 977–78 (9th Cir. 2002); Southland Sod Farms v. Stover Seed Co., 108 F.3d 1134
 3 (9th Cir. 1997); William H. Morris Co. v. Grp. W, Inc., 66 F.3d 255, 257-58 (9th Cir.
 4 1995); McNeil-P.P.C., Inc. v. Bristol-Myers-Squibb Co., 938 F.2d 1544, 1549 (2d Cir.
 5 1991); BASF Corp. v. Old World Trading Co., 41 F.3d 1081, 1091 (7th Cir. 1994);
 6 Castrol, Inc. v. Quaker State Corp., 977 F.2d 57, 62-63 (2d Cir. 1992); Anunziato v.
 7 eMachines, Inc., 402 F.Supp.2d 1133, 1139 (C.D. Cal. 2005); In re Century 21-RE/MAX
 8 Real Estate Advertis. Claims, 882 F. Supp. 915, 923 (C.D. Cal. 1994).
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                                               -9-
                        JOINT AMENDED SET OF DISPUTED JURY INSTRUCTIONS
     Case 2:19-cv-02286-JWH-KS Document 898 Filed 10/31/22 Page 10 of 17 Page ID
                                     #:127213



 1                DEFENDANTS’ PROPOSED JURY INSTRUCTION # 35 3
 2             False Advertising Under Lanham Act – Falsity – Testing Statements
 3         The Lanham Act applies a different rule on falsity with respect to a category of
 4 statements known as testing statements. There are three types of testing statements:
 5         (1) The statement itself explicitly represents to consumers that it is the product of
 6 testing, for example, by saying “tests show that . . .” or “studies have shown that . . . .”
 7         (2) The statement specifically and expressly compares FIGS’ product to SPI’s
 8 product.
 9         (3) The statement is accompanied by a visual graphic that implies the existence of
10 testing.
11         If you find that SPI has established by a preponderance of the evidence that one or
12 more of FIGS’ statements qualifies as a testing statement, SPI can establish literal falsity
13 for that statement (and only that statement) by proving that FIGS’ tests do not establish
14 the statement asserted by FIGS or that the tests are not sufficiently reliable to permit one
15 to conclude with reasonable certainty that the tests establish the statement at issue. This
16 rule does not apply to any non-testing statements.
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26   The parties hereby incorporate their respective statements of support and objections to
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27 this disputed instruction, as set forth in Dkt. 833 at 19–21.
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                         JOINT AMENDED SET OF DISPUTED JURY INSTRUCTIONS
     Case 2:19-cv-02286-JWH-KS Document 898 Filed 10/31/22 Page 11 of 17 Page ID
                                     #:127214



 1                  PLAINTIFF’S PROPOSED JURY INSTRUCTION # 364
 2                       False Advertising Under Lanham Act – Materiality
 3
           To establish the third element of a false advertising claim under the Lanham Act, that
 4
     any deception is material, SPI must prove that the statement at issue was likely to influence
 5
     the purchasing decisions of FIGS’ audience. SPI can also establish materiality by showing
 6
     that FIGS misrepresented an inherent quality or characteristic of the products at issue.
 7
           Intentionally deceptive or misleading statements are presumed to be material. If you
 8
     determine that the advertising was intentionally or deliberately deceptive or misleading,
 9
     then you should consider this third element to be satisfied unless FIGS proves that its
10
     advertisements were not likely to influence purchasing decisions.
11
12
     Authority:
13
     Jury Instruction No. 12 in Strategic Partners, Inc. v. Vestagen Protective Technologies, Inc.,
14
     16-cv-05900-RGK-PLA, Dkt. 215 (C.D. Cal. Sept. 22, 2017); Section 43(a) Lanham Act
15
     (15 U.S.C. § 1125(a)); Clorox Co. v. Reckitt Benckiser Grp. PLC, 398 F. Supp. 3d 623, 644
16
     (N.D. Cal. 2019); Jury Instruction No. 49 in Pac. Bioscience Lab’ys, Inc. v. Nutra Luxe MD,
17
     LCC, No. C10-0230JLR, Dkt. 225, 2012 WL 5896023 (Sept. 11, 2012); Avid Identification
18
     Sys., Inc. v. Schering-Plough Corp., 33 F. App’x 854, 856 (9th Cir. 2002); Southland Sod
19
     Farms v. Stover Seed Co., 108 F.3d 1134, 1139 (9th Cir. 1997); Harper House, Inc. v.
20
     Thomas Nelson, Inc., 889 F.2d 197, 209 (9th Cir. 1989); U–Haul Int'l, Inc. v. Jartran, Inc.,
21
     793 F.2d 1034, 1041 (9th Cir.1986); AECOM Energy & Constr., Inc. v. Ripley, 348 F. Supp.
22
     3d 1038, 1056 (C.D. Cal. 2018); Dkt. 701 at 26 (quoting Harper House, Inc. v. Thomas
23
     Nelson, Inc., 889 F.2d 197, 209 (9th Cir. 1989)).
24
25
26   The parties hereby incorporate their respective statements of support and objections to
     4

27 this disputed instruction, as set forth in Dkt. 833 at 42–45.
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                                                 -11-
                          JOINT AMENDED SET OF DISPUTED JURY INSTRUCTIONS
     Case 2:19-cv-02286-JWH-KS Document 898 Filed 10/31/22 Page 12 of 17 Page ID
                                     #:127215



 1                DEFENDANTS’ PROPOSED JURY INSTRUCTION # 365
 2                      False Advertising Under Lanham Act – Materiality
 3
 4        To establish the third element of a false advertising claim under the Lanham Act, that
 5 any deception is material, SPI must prove that the statement at issue was likely to influence
 6 the purchasing decisions of FIGS’ audience. Statements seen after purchase are, by
 7 definition, immaterial to that purchase. Additionally, SPI cannot prove materiality on the
 8 basis of what a company expected to be material. It must prove materiality through evidence
 9 of what customers did in fact think.
10
11 Authority:
12 Section 43(a) Lanham Act (15 U.S.C. § 1125(a)); Southland Sod Farms v. Stover Seed Co.,
13 108 F.3d 1134, 1139 (9th Cir. 1997); Rice v. Fox Broad. Co., 330 F.3d 1170 (9th Cir. 2013);
14 Skydive Ariz., Inc. v. Quattrocchi, 673 F.3d 1105, 1111 (9th Cir. 2012); Pizza Hut, Inc. v.
15 Papa John’s Int’l, Inc., 227 F.3d 489, 503 (5th Cir. 2000); In re Century 21-RE/MAX Real
16 Estate Advertising Claims Litig., 882 F. Supp. 915, 924 (C.D. Cal. 1994).
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26   The parties hereby incorporate their respective statements of support and objections to
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27 this disputed instruction, as set forth in Dkt. 833 at 47–49.
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                                               -12-
                        JOINT AMENDED SET OF DISPUTED JURY INSTRUCTIONS
     Case 2:19-cv-02286-JWH-KS Document 898 Filed 10/31/22 Page 13 of 17 Page ID
                                     #:127216



 1                 PLAINTIFF’S PROPOSED JURY INSTRUCTION # 47
 2                          Statute of Limitations – Delayed Discovery
 3        If FIGS, Catherine “Trina” Spear, and Heather Hasson prove that SPI’s claimed
 4 harm occurred before February 22, 2017 for its Intentional Interference with Economic
 5 Relations claim, SPI’s lawsuit was still filed on time if SPI proves that before that date,
 6 SPI did not discover, and did not know of facts that would have caused a reasonable
 7 person to suspect, that it had suffered harm that was caused by someone’s wrongful
 8 conduct.
 9 Authority:
10 Judicial Council of California Civil Jury Instructions, Instruction 455 (2021 Edition); See
11 Korea Supply Co. v. Lockheed Martin Corp., 109 Cal. Rptr. 2d 417, 428 (Ct. App. 2001),
12 rev’d in part on other grounds, 29 Cal. 4th 1134 (2003); Wild Rivers Waterpark Mgmt.
13 LLC v. Katy WP Grp., LLC, No. 2:18-CV-06522, 2019 WL 6998669, at *8 (C.D. Cal.
14 Feb. 26, 2019); Lynwood Invs. CY Ltd. v. Konovalov, No. 20-CV-03778-MMC, 2022 WL
15 3370795, at *7 (N.D. Cal. Aug. 16, 2022); Abselet v. Hudson Lab. Sols., Inc., 804 F.
16 App'x 448, 450 (9th Cir. 2020); AWI Builders, Inc. v. Alliant Consulting, Inc., 2021 WL
17 4932307, at *20 (Cal. Ct. App. Oct. 22, 2021) (unpublished), review denied (Feb. 9,
18 2022).
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                         JOINT AMENDED SET OF DISPUTED JURY INSTRUCTIONS
     Case 2:19-cv-02286-JWH-KS Document 898 Filed 10/31/22 Page 14 of 17 Page ID
                                     #:127217



 1                               DEFENDANTS’ OBJECTIONS
 2         Defendants object to SPI’s newly proposed instruction on delayed discovery.
 3 During the meet and confer process that took place in advance of this Court’s Final Pre-
 4 Trial Conference, the parties discussed and agreed to dispense with an instruction on
 5 delayed discovery for SPI’s intentional interference with prospective economic relations
 6 (IIPER) claim. SPI’s agreement to that proposal forfeits this proposed instruction. But
 7 even assuming arguendo that the proposed instruction is not forfeited, Defendants object
 8 on the ground that the California courts are unlikely to apply the discovery rule to toll
 9 accrual for IIPER claims in the absence of evidence that Defendants interfered with SPI’s
10 ability to discover or investigate its claim. “California courts have often stated the maxim
11 that in ordinary tort and contract actions, the statute of limitations begins to run upon the
12 occurrence of the last element essential to the cause of action. The plaintiff’s ignorance of
13 the cause of action does not toll the statute.” April Enters., Inc. v. KTTV, 147 Cal.App.3d
14 805, 826 (1983) (alterations adopted). SPI’s IIPER claim is no different. SPI cannot
15 identify a “manifestly unjust” consequence that would result from holding them to the
16 standard rule of accrual in California, which “advances the fundamental policy
17 underlying statutes of limitations: protecting potential defendants by affording them an
18 opportunity to gather evidence while facts are still fresh.” Id. (internal quotation marks
19 omitted).
20         But even if it could, SPI did not “specifically plead facts to show (1) the time and
21 manner of discovery and (2) the inability to have made earlier discovery despite
22 reasonable diligence,” as the California Supreme Court requires for a plaintiff “to rely on
23 the discovery rule for delayed accrual of a cause of action.” Fox v. Ethicon Endo-
24 Surgery, Inc., 110 P.3d 914, 920–21 (Cal. 2005). Any one of these factors, standing
25 alone, would warrant rejecting SPI’s proposed instruction on delayed discovery for its
26 IIPER claim. Combined, the case for rejection is even stronger. This Court should decline
27 SPI’s invitation to add an instruction regarding delayed discovery.
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                                                -14-
                         JOINT AMENDED SET OF DISPUTED JURY INSTRUCTIONS
     Case 2:19-cv-02286-JWH-KS Document 898 Filed 10/31/22 Page 15 of 17 Page ID
                                     #:127218



 1                        PLAINTIFF’S STATEMENT IN SUPPORT
 2        California Code of Civil Procedure Section 339 (Section 339) governs the cause of
 3 action for intentional interference with prospective economic advantage, also known as
 4 intentional interference with prospective economic relations (“IIPER”)—and Section 339
 5 embodies the so-called “discovery rule.” See Korea Supply Co. v. Lockheed Martin
 6 Corp., 109 Cal. Rptr. 2d 417, 428 (Ct. App. 2001), rev’d in part on other grounds, 29
 7 Cal. 4th 1134 (2003); Aljamal v. Parsons Corp., 2017 WL 11634507, at *5 (C.D. Cal.
 8 Aug. 4, 2017). Courts routinely apply the discovery rule to toll IIPEA/IIPER claims. See,
 9 e.g., Wild Rivers Waterpark Mgmt. LLC v. Katy WP Grp., LLC, 2019 WL 6998669, at *8
10 (C.D. Cal. Feb. 26, 2019); Lynwood Invs. CY Ltd. v. Konovalov, 2022 WL 3370795, at *7
11 (N.D. Cal. Aug. 16, 2022) (acknowledging Section 339’s language regarding discovery in
12 analyzing an IIPER claim); Abselet v. Hudson Lab. Sols., Inc., 804 F. App’x 448, 450
13 (9th Cir. 2020) (acknowledging the application of the discovery rule to claims for
14 intentional interference with contractual relations claim, principally derived from the
15 same statutory provision).
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                         JOINT AMENDED SET OF DISPUTED JURY INSTRUCTIONS
     Case 2:19-cv-02286-JWH-KS Document 898 Filed 10/31/22 Page 16 of 17 Page ID
                                     #:127219



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                                           -16-
                       JOINT AMENDED SET OF DISPUTED JURY INSTRUCTIONS
     Case 2:19-cv-02286-JWH-KS Document 898 Filed 10/31/22 Page 17 of 17 Page ID
                                     #:127220



 1 DATED: October 31, 2022              MUNGER, TOLLES & OLSON LLP
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                       JOINT AMENDED SET OF DISPUTED JURY INSTRUCTIONS
